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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF NEW YORK


 BELLEAU TECHNOLOGIES, LLC,

       Plaintiff,

       v.                                                   Civil Action No. 18 Civ. 06319(AJN)

 JOEALLENPRO LIMITED, a foreign                             JURY TRIAL DEMANDED
 corporation; and JOSEPH ALLEN, as an
 individual,

       Defendants.



                                  DECLARATION OF JOSEPH ALLEN

I, Joseph Allen, declare under penalty of perjury, that the following is true and correct:


             1.       My name is Joseph Allen and I am over 21 years of age. I am the President and

owner of JoeAllenPro Limited. I reside at 48 Bowhill Way, Harlow, Essex, United Kingdom.

             2.       JoeAllenPro creates professional applications and systems for media production.

JoeAllenPro’s applications are used by around 230,000 users worldwide including television

personalities, influencers, educators, and creative professionals. I personally developed all of

JoeAllenPro’s apps, including the AutoPrompter app. I wrote all of the AutoPrompter app’s

software and source code. I have personal knowledge of all functionalities of the AutoPrompter

App.

             3.       On July 23, 2018 I received, by FedEx, a copy of a complaint alleging that my

company and me infringed Belleau Technologies, LLC’s patent. Immediately upon receiving

this complaint, I contacted my attorney in the U.K., who then referred me to a law firm in the
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U.S. located in Dallas, Texas. I contacted that law firm and was given information that was not

correct regarding how to respond to the allegations made by Belleau, which led to my failure to

respond.

       4.        When it became apparent I was given incorrect advice regarding how to proceed

in this lawsuit, I contacted and retained counsel located in New York.          I have since acted

diligently in defending against Belleau’s allegations of patent infringement.

       5.        Belleau’s allegation that the AutoPrompter app infringes its patent claims is

incorrect.

       6.        None of JoeAllenPro’s teleprompter apps, including the AutoPrompter, utilize or

employ a “predetermined number of hypothesis words” or any substantially similar

functionalities as described in the claims of U.S. Patent Number 9,953,646.

       7.        None of JoeAllenPro’s teleprompter apps, including the AutoPrompter, utilize or

employ the operation or substantially similar operations of determining whether words have been

matched to a match location.

       8.        None of JoeAllenPro’s teleprompter apps, including the AutoPrompter utilize or

employ the operation or substantially similar operation of removing one or more words from

“hypothesis words.”


       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.



                               Executed in Harlow, United Kingdom on September 30, 2018.



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                           By:__________________________________
                                 Joseph Allen




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